    Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 1 of 28




                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF NEW YORK



HACHETTE BOOK GROUP, INC.,
HARPERCOLLINS PUBLISHERS LLC,         Case No. 1:20-CV-04160-JGK
JOHN WILEY & SONS, INC., and
PENGUIN RANDOM HOUSE LLC,
                                      JURY TRIAL DEMANDED
                      Plaintiffs,

     v.
INTERNET ARCHIVE and DOES 1
through 5, inclusive,

                      Defendants.


 DEFENDANT INTERNET ARCHIVE’S ANSWER AND AFFIRMATIVE DEFENSES
                      TO THE COMPLAINT
      Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 2 of 28




       Defendant Internet Archive, by its undersigned counsel, hereby answers the Complaint of

Plaintiffs Hachette Book Group, Inc., HarperCollins Publishers LLC, John Wiley & Sons, Inc.,

and Penguin Random House LLC (collectively, “Plaintiffs”) as follows, based on information

reasonably available to the Internet Archive.

                                 PRELIMINARY STATEMENT
       The Internet Archive, a 501(c)(3) public charity, is a nonprofit library that has had one

guiding mission for almost 25 years: to provide universal access to all knowledge. It is a Library

of Alexandria for the twenty-first century that, thanks to digital technologies and the Internet,

excels in a way the Library of Alexandria never could. Through the Internet Archive, people

who do not live in world capitals can access the same cultural and informational resources as

those who do.

       The Internet Archive does what libraries have always done: buy, collect, preserve, and

share our common culture. In furtherance of that mission, the Internet Archive has received

grant funding from the National Endowment for the Humanities, the National Science

Foundation, and the federal government’s Institute of Museum and Library Services, among

many other sources. Many libraries and archives, including the Library of Congress, Boston

Public Library, University of Illinois at Urbana-Champaign, and smaller community libraries

like the Allen County Public Library trust the Internet Archive to digitize books and other

materials in their collections in order to preserve physical texts and to facilitate public access.

The Internet Archive is part of a network of libraries around the world—each of which is using

digital technologies to meet the many challenges of serving patrons with diverse needs and

differing abilities and to ensure that the growing storehouse of human creativity is not lost

because no one has the capacity to preserve it.

       Like Plaintiffs, the Internet Archive believes that “[b]ooks are a cornerstone of our

culture and system of democratic self-government” and “play a critical role in education.”

Accordingly, democratizing access to information, and facilitating access to books in particular,

has been a core part of the Internet Archive’s mission for decades. But, for many people,




                                                        1
      Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 3 of 28




distance, time, cost, or disability pose daunting and sometimes insurmountable barriers to

accessing physical books. Digitizing and offering books online for borrowing unlocks them for

communities with limited or no access, creating a lifeline to trusted information. Readers in the

Internet age need a comprehensive library that meets them where they are—an online space that

welcomes everyone to use its resources, while respecting readers’ privacy and dignity.

       To make this vision of a comprehensive Internet library a reality, the Internet Archive

offers digitized books in a variety of ways. Books published prior to 1924 can be downloaded

without restriction, and people with visual impairments can access more recent books using

specially-designed encrypted technologies. The corpus of digitized books is used by data

scientists to do computational analysis of texts, yielding a broader picture of human thought. To

mirror traditional library lending online for everyone else, the Internet Archive allows patrons to

borrow modern books via a process called Controlled Digital Lending (“CDL”).

       Under CDL, the Internet Archive and other libraries make and lend out digital scans of

physical books in their collections. Replicating longstanding brick-and-mortar practice, only one

person can borrow one copy at a time. With the support and participation of hundreds of other

libraries, the Internet Archive has been digitizing books lawfully acquired through purchase or

donation and, since 2011, lending those digitized books on this own-to-loan basis. The Internet

Archive loans books to its patrons using the same industry-standard technical protections that

publishers themselves use to make books available electronically. Libraries have collectively

paid publishers billions of dollars for the books in their print collections and are investing

enormous resources in digitization in order to preserve those texts. CDL helps them take the

next step by making sure the public can make full use of the books that libraries have bought.

       This activity is fundamentally the same as traditional library lending and poses no new

harm to authors or the publishing industry. In fact, the Internet Archive fosters research and

learning by making sure people all over the world can access books and by keeping books in

circulation when their publishers have lost interest in providing access. Nevertheless, where

authors or publishers wish to deny the public access to their works through CDL, the Internet



                                                       2
      Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 4 of 28




Archive honors those requests. (All of the works at issue in this case have been removed from

the Internet Archive’s websites.)

       The Internet Archive has made careful efforts to ensure its uses are lawful. The Internet

Archive’s CDL program is sheltered by the fair use doctrine, buttressed by traditional library

protections. Specifically, the project serves the public interest in preservation, access and

research—all classic fair use purposes. Every book in the collection has already been published

and most are out of print. Patrons can borrow and read entire volumes, to be sure, but that is

what it means to check a book out from a library. As for its effect on the market for the works in

question, the books have already been bought and paid for by the libraries that own them. The

public derives tremendous benefit from the program, and rights holders will gain nothing if the

public is deprived of this resource.

       During the early days of the COVID-19 crisis, in response to urgent pleas from teachers

and librarians whose students and patrons had been ordered to stay at home, the Internet Archive

decided to temporarily permit lending that could have exceeded the one-to-one owned-to-loaned

ratio. With millions of print books locked away, digital lending was the only practical way to get

books to those who needed them. The Internet Archive called this program the “National

Emergency Library” and planned to discontinue it once the need had passed. Twelve weeks

later, other options had emerged to fill the gap, and the Internet Archive was able to return to the

traditional CDL approach.

       Contrary to the publishers’ accusations, the Internet Archive and the hundreds of libraries

and archives that support it are not pirates or thieves. They are librarians, striving to serve their

patrons online just as they have done for centuries in the brick-and-mortar world. Copyright law

does not stand in the way of libraries’ right to lend, and patrons’ right to borrow, the books that

libraries own.




                                                        3
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 5 of 28




                                   NATURE OF THE ACTION 1
       1.         The Internet Archive admits that the Plaintiffs allege copyright infringement, that

Internet Archive is a named Defendant, and that the Complaint alleges facts concerning “Open

Library” and/or “National Emergency Library.” The Internet Archive lacks sufficient knowledge

or information to admit or deny the remaining allegations in this paragraph and on that basis

denies them.

       2.         Denied.

       3.         The Internet Archive admits that more than 1.3 million books are available on

archive.org for one patron to borrow at a time. The Internet Archive denies the remaining

allegations of this paragraph.

       4.         Admitted.

       5.         The Internet Archive admits that, in 1787, the Framers adopted the Copyright

Clause of the Constitution, explicitly authorizing Congress “[t]o promote the Progress of Science

and useful Arts, by securing for limited Times to Authors and Inventors the exclusive Right to

their respective Writings and Discoveries.” U.S. Const., Art. I, § 8, cl. 8. The Internet Archive

further admits that, in 1790, the First Congress enacted the first Copyright Act. The Internet

Archive lacks sufficient knowledge or information to admit or deny the remaining allegations in

this paragraph and on that basis denies them.

       6.         The Internet Archive admits that books from a variety of genres are available to

patrons for borrowing on archive.org. The Internet Archive denies the remaining allegations of

this paragraph.

       7.         Denied.

       8.         Denied.

       9.         Denied.

       10.        Denied.


1
  Internet Archive neither admits nor denies the contents of the various headings and
subheadings in the Complaint, which are reproduced herein solely for convenience.


                                                        4
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 6 of 28




       11.     Denied.

       12.     The Internet Archive admits that libraries are trusted institutions that serve

communities. The Internet Archive admits that a study authored by the Copyright Office titled

“Legal Issues in Mass Digitization” published in October 2011 contains the statement “The

Section 108 exception does not contemplate mass digitization.” The Internet Archive denies the

remaining allegations of this paragraph.

       13.     Denied.

       14.     Denied.

                                           THE PARTIES

       A.      Plaintiffs
       15.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.

       16.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.

       17.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.

       18.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.
       19.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.

       20.     The Internet Archive admits that the works identified in Exhibit A to the

Complaint were at one time available for patrons to borrow via archive.org. The Internet

Archive lacks sufficient knowledge or information to admit or deny the remaining allegations in

this paragraph and on that basis denies them. To the extent allegations in this paragraph state

legal conclusions, they do not require a response. To the extent a response is required, the

Internet Archive denies the allegations.

       21.     The Internet Archive lacks sufficient knowledge or information to admit or deny



                                                      5
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 7 of 28




the allegations in this paragraph and on that basis denies them.

       22.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.

       B.      Defendant
       23.     Admitted.

       24.     The Internet Archive admits that it is registered with the New York Department of

State to transact business and accept service of process in the State of New York. The Internet

Archive further admits that some of its patrons live in New York. The Internet Archive further

admits that some New York libraries have engaged the Internet Archive to digitize books for

them. The Internet Archive further admits that some of its donors are located in New York. The

Internet Archive lacks sufficient knowledge or information to admit or deny the remaining

allegations in this paragraph and on that basis denies them.

       25.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the remaining allegations in this paragraph and on that basis denies them. To the extent

allegations in this paragraph state legal conclusions, they do not require a response. To the

extent a response is required, the Internet Archive denies the allegations.

       26.     The Internet Archive admits that it provides some services to other nonprofit

institutions and that those institutions help defray the costs of providing those services. The

Internet Archive admits that over the last 10 years, the Internet Archive has received donations,

grants, and other revenue totaling more than $100 million. The Internet Archive lacks sufficient

knowledge or information to admit or deny the remaining allegations in this paragraph and on

that basis denies them.

       27.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.

                                JURISDICTION AND VENUE
       28.     The Internet Archive does not contest that this Court may exert subject matter

jurisdiction over Plaintiffs’ claims. The remaining allegations in this paragraph are legal



                                                      6
      Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 8 of 28




conclusions to which no response is required. To the extent any response is required, the Internet

Archive denies the allegations in this paragraph.

        29.     For the purposes of this action only, the Internet Archive does not contest it is

subject to personal jurisdiction in New York State. The Internet Archive lacks sufficient

knowledge or information to admit or deny the remaining allegations in this paragraph and on

that basis denies them. To the extent allegations in this paragraph state legal conclusions, they

do not require a response. To the extent a response is required, the Internet Archive denies the

allegations.

        30.     For the purposes of this action only, the Internet Archive does not contest it is

subject to personal jurisdiction in New York State. The Internet Archive admits that it is

registered to do business in New York State. The Internet Archive lacks sufficient knowledge or

information to admit or deny the remaining allegations in this paragraph and on that basis denies

them. To the extent allegations in this paragraph state legal conclusions, they do not require a

response. To the extent a response is required, the Internet Archive denies the allegations.

        31.     For this purposes of this action only, the Internet Archive admits that venue is

proper in this District.

                                    FACTUAL BACKGROUND

        A.      The Book Publishing Ecosystem
                i.         Publishers and Authors Rely on Copyright Law to Create
                           Functioning Markets for Books
        32.     The Internet Archive admits that books are a cornerstone of our culture and

system of democratic self-government and play a critical role in education. The Internet Archive

lacks sufficient knowledge or information to admit or deny the remaining allegations in this

paragraph and on that basis denies them.

        33.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.

        34.     Internet Archive lacks sufficient knowledge or information to admit or deny the




                                                       7
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 9 of 28




allegations in this paragraph and on that basis denies them.

       35.        The Internet Archive admits that the first Copyright Act was passed in 1790, that

there is a Copyright Clause in the Constitution, and that a subsequent Copyright Act was passed

in 1976. The remaining allegations in this paragraph are legal conclusions to which no response

is required. To the extent any response is required, the Internet Archive denies the allegations in

this paragraph.

       36.        Denied.

       37.        The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.

       38.        The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.

                  ii.    The Development of Functioning Markets for Ebooks
       39.        The Internet Archive lacks sufficient knowledge or information to admit or deny

the remaining allegations in this paragraph and on that basis denies them.

       40.        The Internet Archive lacks sufficient knowledge or information to admit or deny

the remaining allegations in this paragraph and on that basis denies them.

       41.        The Internet Archive admits that publishers sell copies of print books without any

restrictions. The Internet Archive lacks sufficient knowledge or information to admit or deny the

remaining allegations in this paragraph and on that basis denies them.

       42.        The Internet Archive lacks sufficient knowledge or information to admit or deny

the remaining allegations in this paragraph and on that basis denies them.

       43.        The Internet Archive admits that Congress passed the DMCA in 1998. The

Internet Archive lacks sufficient knowledge or information to admit or deny the remaining

allegations in this paragraph and on that basis denies them. To the extent allegations in this

paragraph state legal conclusions, they do not require a response. To the extent a response is

required, the Internet Archive denies the allegations.

       44.        The Internet Archive lacks sufficient knowledge or information to admit or deny



                                                         8
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 10 of 28




the remaining allegations in this paragraph and on that basis denies them.

       45.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the remaining allegations in this paragraph and on that basis denies them. To the extent

allegations in this paragraph state legal conclusions, they do not require a response. To the

extent a response is required, the Internet Archive denies the allegations.

               iii.    The Established Market Equilibrium Between Authors, Publishers,
                       and Libraries
       46.     The Internet Archive admits that public libraries are among the most cherished

institutions in this country. The Internet Archive lacks sufficient knowledge or information to

admit or deny the remaining allegations in this paragraph and on that basis denies them.

       47.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.

       48.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.

               iv.     Plaintiffs and Libraries Reacted Rapidly to Ensure Library Patrons
                       Have Access to Books During the COVID-19 Lockdown
       49.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.

       50.     Denied.

       51.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them. To the extent allegations in this

paragraph state legal conclusions, they do not require a response. To the extent a response is

required, the Internet Archive denies the allegations.

       B.      Internet Archive Unlawfully Disrupts the Book Publishing Ecosystem by
               Infringing Copyright on an Industrial Scale
       52.     Denied.

               i.      Internet Archive
       53.     The Internet Archive admits that Brewster Kahle founded the Internet Archive in




                                                         9
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 11 of 28




1996. The Internet Archive further admits that it provides the Wayback Machine and

digitization of public domain materials. The Internet Archive further admits that such services

are excluded from Plaintiffs’ allegations in this lawsuit. The Internet Archive denies the

remaining allegations of this paragraph.

       54.     The Internet Archive admits that its headquarters are located in San Francisco, but

denies that the corner of Funston and Clement Streets is an “exclusive area.” The Internet

Archive further admits that, as listed on its 2017 tax filings, it employed 150 employees in

calendar year 2017. The Internet Archive admits that Better World Libraries is a nonprofit

organization that owns book seller Better World Books. The Internet Archive denies the

remaining allegations of this paragraph.

       55.     The Internet Archive admits that it has received grants from the Kahle/Austin

Foundation. The Internet Archive admits that the Kahle/Austin Foundation was established by

Brewster Kahle and his wife. The Internet Archive admits that its programs are funded by a

variety of philanthropic entities. The Internet Archive lacks sufficient knowledge or information

to admit or deny any remaining allegations in this paragraph and on that basis denies them.

       56.     The Internet Archive admits that income from offering services and from

donations help defray costs the Internet Archive incurs. The Internet Archive further admits that

it provides book scanning and digitization to institutions nationwide. The Internet Archive

admits that the New York Public Library hosted the Internet Archive’s digitization activities in

New York at one time. The Internet Archive denies the remaining allegations in this paragraph.

               ii.    The Open Library
       57.     The Internet Archive admits that it started Open Library in 2006 with the goal of

providing “one web page for every book published.” The Internet Archive lacks sufficient

knowledge or information to admit or deny the remaining allegations in this paragraph and on

that basis denies them.

       58.     Denied.

       59.     Denied.



                                                     10
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 12 of 28




       60.     Denied.

       61.     The Internet Archive admits that an article titled Where to find what’s

disappeared online, and a whole lot more: the Internet Archive by Mary Kay Magistad is dated

February 23, 2017. The Internet Archive further admits that this article contains the following

quote attributed to Brewster Kahle: “We're trying to build a Library of Alexandria, Version 2, so

can we make all the published works of humankind available to people, permanently. If you're

curious enough to want to have access, can we make it available to all the books, music, video,

web pages, software, lectures, available to anybody wanting to have access.” The Internet

Archive lacks sufficient knowledge or information to admit or deny any remaining allegations in

this paragraph and on that basis denies them.

       62.     The Internet Archive admits that an article titled Internet Archive Expands

Partnerships of Open Libraries Project by Matt Enis is dated May 2, 2019. The Internet Archive

further admits that this article states that “The organization’s goal is to ramp up digitization to

500,000 books per year,” and the Internet Archive further admits that the article characterizes a

component of that goal is “to have more than four million books online for the public.” The

Internet Archive further admits that the article attributes the quote “to have more than four

million books online for the public” to Chris Freeland, whom the article identifies as the director

of Open Libraries. The Internet Archive lacks sufficient knowledge or information to admit or
deny any remaining allegations in this paragraph and on that basis denies them.

       63.     Denied.

       64.     The Internet Archive admits that The Man Who Solved the Market: How Jim

Simons Launched the Quant Revolution by Gregory Zuckerman is listed in Exhibit A to the

Complaint. The Internet Archive lacks sufficient knowledge or information to admit or deny the

remaining allegations in this paragraph and on that basis denies them.

       65.     Denied.

       66.     Denied.




                                                       11
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 13 of 28




                  iii.   The User Experience of the Website
       67.        The Internet Archive admits that a patron may sign up for an account using an

Internet connection. The Internet Archive further admits that, once a patron has created an

account, the patron can borrow books. The Internet Archive denies the remaining allegations of

this paragraph.

       68.        Admitted.

       69.        The Internet Archive admits that clicking on a book title takes the patron to the

title’s webpage on the Open Library website, which contains a picture of the cover, a description

of the book and bibliographic information, such as the publication date and the WorldCat catalog

number. The Internet Archive admits that the image in Paragraph 69 of the Complaint appears to

be a screenshot of the Open Library page for the book Blink. The Internet Archive admits that

this screenshot contains links to book retailers. The Internet Archive lacks sufficient knowledge

or information to admit or deny the remaining allegations in this paragraph and on that basis

denies them.

       70.        The Internet Archive admits that in the screenshot in Paragraph 69 of the

Complaint, the first link to a book retailer is to Better World Books. The Internet Archive

further admits that Better World Books is an online seller of books which is owned by Better

World Libraries, a nonprofit organization. The Internet Archive denies the remaining allegations
of this paragraph.

       71.        The Internet Archive admits that it labels some books on Open Library with the

terms “read” and “borrow.” The Internet Archive further admits that patrons may “read” or

borrow” a book if that book is available on archive.org. The Internet Archive further admits that

patrons who choose books available to “read” can download the digitized book in a variety of

digital formats, including as a .pdf file. The Internet Archive further admits that there is no limit

on the number of patrons that can download books available to “read” on archive.org. The

Internet Archive further admits that books available to “read” on archive.org lack DRM

restrictions. The Internet Archive further admits that patrons can access books available on



                                                        12
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 14 of 28




archive.org to “read” using the BookReader interface. The Internet Archive lacks sufficient

knowledge or information to admit or deny the remaining allegations in this paragraph and on

that basis denies them.

       72.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them. To the extent allegations in this

paragraph state legal conclusions, they do not require a response. To the extent a response is

required, the Internet Archive denies the allegations.

       73.     The Internet Archive admits that books available for patrons to borrow on

archive.org are not known by the Internet Archive to be in the public domain. The Internet

Archive denies the remaining allegations of this paragraph.

       74.     The Internet Archive admits that a patron is currently limited to borrowing ten

books at a time, to the extent those ten books are available to borrow from archive.org. The

Internet Archive further admits that some books are available to borrow from archive.org for two

weeks. The Internet Archive further admits that when a patron has borrowed ten books that are

available to borrow from archive.org, the patron must return one of these borrowed books before

he or she may borrow another book that is available to borrow from archive.org. The Internet

Archive lacks sufficient knowledge or information to admit or deny the remaining allegations in

this paragraph and on that basis denies them. To the extent allegations in this paragraph state

legal conclusions, they do not require a response. To the extent a response is required, the

Internet Archive denies the allegations.

       75.     The Internet Archive admits that it enforces an “owned to loaned” ratio that

restricts the number of patrons who can at the same time borrow a book that is available to

borrow from archive.org. The Internet Archive further admits that its patrons are put on a

waitlist when there are no available copies of a book to borrow from archive.org. The Internet

Archive denies the remaining allegations in this paragraph.

       76.     The Internet Archive admits that patrons that have checked out a book can read it

on the BookReader interface. The Internet Archive further admits that this interface operates in a



                                                     13
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 15 of 28




web browser. The Internet Archive further admits that the image in Paragraph 76 purports to be

a screenshot of pages 166 and 167 of the book Blink, viewable on a web browser. The Internet

Archive further admits that, in BookReader, patrons can turn pages by clicking on the pages or

using left- and right-facing triangles at the bottom of the screen. The Internet Archive further

admits that, in BookReader, patrons have the option to click a button to hear the text of a book

read aloud. The remaining allegations in this paragraph state legal conclusions and therefore do

not require a response. To the extent a response is required, the Internet Archive denies the

allegations. The Internet Archive denies any remaining allegations in this paragraph.

        77.    The Internet Archive admits that Adobe Digital Editions (“ADE”) facilitates

patron access to a borrowed book. The Internet Archive further admits that ADE files are

protected by DRM technology that restricts copying and allows patrons to access the file during

the fourteen-day borrowing period, after which time the patron can no longer open or access the

file. The Internet Archive denies the remaining allegations in this paragraph.

        78.    The Internet Archive admits that patrons can borrow books available to “borrow”

from archive.org in two ADE formats: “Encrypted Adobe PDF” and “Encrypted Adobe ePub.”

The Internet Archive admits that the image in Paragraph 78 purports to be a screenshot of a page

from a book presented using ADE. The Internet Archive lacks sufficient knowledge or

information to admit or deny the remaining allegations in this paragraph and on that basis denies

them.

        79.    The Internet Archive admits that patrons can read books they borrow on capable

devices and that examples of such devices include smartphones, tablets, and e-readers. The

Internet Archive admits that patrons can access the BookReader interface on mobile devices.

The Internet Archive lacks sufficient knowledge or information to admit or deny the remaining

allegations in this paragraph and on that basis denies them.

               iv.     The Open Library Is Not a Library, It Is an Unlicensed Aggregator
                       and Pirate Site
        80.    The Internet Archive admits that the website OpenLibrary.org states that Open




                                                     14
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 16 of 28




Library is “an accredited California State Library run by the non-profit the Internet Archive.”

The Internet Archive denies any remaining allegations in this paragraph.

       81.     The Internet Archive admits that it received a Library Services and Technology

Act (“LSTA”) grant in 2010/2011. The Internet Archive further admits that, in order to be

eligible for such a grant, the Internet Archive must meet certain eligibility requirements. The

Internet Archive further admits that one of those eligibility requirements is that it be a library.

The Internet Archive denies any remaining allegations in this paragraph.

       82.     Denied.

       83.     The Internet Archive admits that the image in Paragraph 83 of the Complaint

appears to be a screenshot of part of the homepage of OpenLibrary.org. The Internet Archive

lacks sufficient knowledge or information to admit or deny the remaining allegations in this

paragraph and on that basis denies them.

       84.     The Internet Archive admits that the image in Paragraph 83 of the Complaint

appears to be a screenshot of part of the homepage of OpenLibrary.org. The Internet Archive

lacks sufficient knowledge or information to admit or deny the remaining allegations in this

paragraph and on that basis denies them.

               v.      IA’s Industrial Book-Scanning Machine and Global Scanning
                       Operations
       85.     Denied.

       86.     The Internet Archive admits that it developed the Scribe System and invented the

Scribe scanner in order to digitize printed materials. The Internet Archive further admits that

individuals operate the Scribe scanners to digitize printed materials and that the images in

Paragraph 86 are of individuals using Scribe scanners to digitize printed materials. The Internet

Archive denies the remaining allegations of this paragraph.

       87.     The Internet Archive admits that it has employed more than fifty employees to

work at locations with Scribe scanners and that those employees are responsible for digitizing

physical materials. The Internet Archive further admits that volunteers have also digitized




                                                       15
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 17 of 28




materials. The Internet Archive further admits that it can have 3,000 books digitized in a day

when it is operating at full capacity. The Internet Archive denies the remaining allegations in

this paragraph.

       88.        The Internet Archive admits that, in the past, it operated a digitization center

housed at facilities provided by the New York Public Library in the Southern District of New

York and that it digitized books there. The Internet Archive further admits that some of the

works listed in Exhibit A were digitized in New York. The Internet Archive denies any

remaining allegations in this paragraph.

       89.        The Internet Archive admits that it digitizes materials using the Scribe scanner,

which photographs each page of a physical book in order to make a digital version of the book.

To the extent allegations in this paragraph state legal conclusions, they do not require a response.

To the extent a response is required, the Internet Archive denies the allegations. The Internet

Archive denies the remaining allegations in this paragraph.

                  vi.    Internet Archive Shifts the Costs of Its Illegal Book Digitization
                         Project Onto Publishers, Libraries, Open Library Users, and Other
                         Third Parties
       90.        Denied.

       91.        The Internet Archive admits that archive.org is an altruistic non-commercial

enterprise. The Internet Archive denies the remaining allegations of this paragraph.

                  a.     Internet Archive is Paid Millions of Dollars to Infringe Copyrighted
                         Books and Put Them on the Open Library
       92.        The Internet Archive admits that archive.org is an altruistic non-commercial

enterprise. The Internet Archive denies the remaining allegations of this paragraph.

       93.        The Internet Archive admits that the blog post by Brewster Kahle titled Internet

Archive Staff and Covid-19: Work-at-Home for Most, Full-Pay Furlough and Medical for

Scanners and dated March 25, 2020 contains the quote “Libraries paying for our scanning

services is a major source of earned income for the Internet Archive.” Internet Archive denies

the remaining allegations in this paragraph.




                                                         16
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 18 of 28




       94.     The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them. To the extent allegations in this

paragraph state legal conclusions, they do not require a response. To the extent a response is

required, the Internet Archive denies the allegations. The Internet Archive denies any remaining

allegations in this paragraph.

               b.      Better World Books Feeds the Open Library with Copyrighted Books
       95.     Denied.

       96.     The Internet Archive admits that the quote “will allow Better World Books to

provide a steady stream of books to be digitized by the Internet Archive, thereby growing its

digital holdings to millions of books” appears in a press release accompanying the acquisition of

Better World Books by Better World Libraries, a non-profit. The Internet Archive denies that it

is or is part of a “perfect closed loop system.” The Internet Archive lacks sufficient knowledge

or information to admit or deny the remaining allegations in this paragraph and on that basis

denies them.

       97.     Denied.

               c.      Users “Sponsor” Books that Internet Archive Wants to Infringe
       98.     The Internet Archive admits that it gives patrons the option to “sponsor” books.

The Internet Archive further admits that the image in Paragraph 98 appears to be a screenshot of

the Open Library homepage. The Internet Archive denies the remaining allegations in this

paragraph.

       99.     The Internet Archive admits that the image in Paragraph 99 appears to be a

screenshot of a page for the book Back to the Batcave. The Internet Archive further admits

clicking on a “Sponsor” button on a book’s page opens the sponsorship page for that book and

that the sponsorship page for a book states that a “tax deductible donation can add this book to

the Internet Archive’s lending library, forever” and lists a cost to sponsor the book. The Internet

Archive denies any remaining allegations in this paragraph.

       100.    The Internet Archive admits that the image in Paragraph 99 appears to be a



                                                     17
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 19 of 28




screenshot of a page for the book Back to the Batcave, written by Adam West. The Internet

Archive further admits that the sponsorship cost of $93.12 appears in the image in Paragraph

99.To the extent allegations in this paragraph state legal conclusions, they do not require a

response. To the extent a response is required, the Internet Archive denies the allegations. The

Internet Archive denies the remaining allegations in this paragraph.

       101.    Denied.

       102.    Denied.

               d.      Internet Archive Absorbs Entire Libraries for the Website
       103.    The Internet Archive admits that a May 2019 article quotes Chris Freeland as

saying IA’s acquisition program “involves collecting donations of in-copyright materials from

libraries and booksellers, digitizing this content in [IA’s] scanning center in Cebu, the

Philippines, and then storing the physical copies in archive facilities in Richmond, CA.” The

Internet Archive further admits that Chris Freeland is director of Open Libraries. The Internet

Archive lacks sufficient knowledge or information to admit or deny the remaining allegations in

this paragraph and on that basis denies them.

       104.    The Internet Archive admits that physical books that have been digitized for the

purposes of providing access to patrons through archive.org are stored in archive facilities in

Richmond, California. To the extent allegations in this paragraph state legal conclusions, they

do not require a response. To the extent a response is required, the Internet Archive denies the

allegations. The Internet Archive denies the remaining allegations in this paragraph.

       105.    Denied. To the extent allegations in this paragraph state legal conclusions, they

do not require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       106.    Denied.

               vii.    Controlled Digital Lending
       107.    The Internet Archive admits that Controlled Digital Lending is not copyright

infringement. The Internet Archive denies any remaining allegations in this paragraph.



                                                      18
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 20 of 28




       108.    The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them. The remaining allegations in this

paragraph state legal conclusions and therefore do not require a response. To the extent a

response is required, The Internet Archive denies the allegations. The Internet Archive denies

any remaining allegations in this paragraph.

       109.    The Internet Archive admits that Jason Scott tweeted “Only one or two unique

copies are kept – duplicates (which have increased over time) are donated to various charities or

non-profits. The books are stored at the physical archive.” The Internet Archive lacks sufficient

knowledge or information to admit or deny the remaining allegations in this paragraph and on

that basis denies them.

       110.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, The Internet Archive denies the

allegations. The Internet Archive denies any remaining allegations in this paragraph.

       111.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations. The Internet Archive denies the remaining allegations in this paragraph.

       112.    IA admits that the Digital Millennium Copyright Act (DMCA) Section 104

Report issued by the Copyright Office states: “Time, space, effort and cost no longer act as

barriers to the movement of [digital] copies, since digital copies can be transmitted nearly

instantaneously anywhere in the world with minimal effort and negligible cost.” IA further

admits that this report is available at https://www.copyright.gov/reports/studies/dmca/sec-104-

report-vol-1.pdf. IA lacks sufficient knowledge or information to admit or deny the remaining

allegations in this paragraph and on that basis denies them. To the extent allegations in this

paragraph state legal conclusions, they do not require a response. To the extent a response is

required, IA denies the allegations.

       113.    Denied.




                                                     19
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 21 of 28




               viii.   The National Emergency Library
       114.    The Internet Archive admits the National Emergency Library was announced on

March 24, 2020. The Internet Archive further admits that the National Emergency Library was

made available to the public in response to the pandemic. To the extent allegations in this

paragraph state a legal conclusion they do not require a response. To the extent a response is

required, the Internet Archive denies the allegations. The Internet Archive denies the remaining

allegations in this paragraph.

       115.    The Internet Archive admits that a blog post written by Brewster Kahle dated

April 7, 2020 states: “We moved in ‘Internet Time’ and the speed and swiftness of our solution

surprised some and caught others off guard. In our rush to help we didn’t engage with the creator

community and the ecosystem in which their works are made and published.” The Internet

Archive lacks sufficient knowledge or information to admit or deny the remaining allegations in

this paragraph and on that basis denies them.

       116.    To the extent allegations in this paragraph state legal conclusions they do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations. The Internet Archive denies any remaining allegations in this paragraph.

       117.    To the extent allegations in this paragraph state legal conclusions, they do not

require a response. To the extent a response is required, the Internet Archive denies the
allegations. The Internet Archive denies any remaining allegations in this paragraph.

       118.    To the extent allegations in this paragraph state legal conclusions, they do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations. The Internet Archive denies the remaining allegations in this paragraph.

       C.      Defendant’s Infringement Causes Harm to Publishers
       119.    Denied.

       120.    Denied.

       121.    Denied.

       122.    Denied.



                                                     20
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 22 of 28




       123.    Denied.

       124.    Denied.

       125.    The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them.

       126.    Denied.

       127.    Denied.
                                    CLAIMS FOR RELIEF

                                FIRST CAUSE OF ACTION
                    Direct Copyright Infringement (17 U.S.C. § 101 et seq.)
       128.    The Internet Archive repeats and realleges each and every response to Plaintiffs’

foregoing allegations.

       129.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       130.    The Internet Archive lacks sufficient knowledge or information to admit or deny

the allegations in this paragraph and on that basis denies them. To the extent allegations in this

paragraph state legal conclusions, they do not require a response. To the extent a response is

required, the Internet Archive denies the allegations.

       131.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       132.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       133.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.




                                                     21
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 23 of 28




       134.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       135.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       136.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       137.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

                             SECOND CAUSE OF ACTION
                 Secondary Copyright Infringement (17 U.S.C. § 101 et seq.)
       138.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       139.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the
allegations.

       140.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       141.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       142.    The allegations in this paragraph state legal conclusions and therefore do not




                                                     22
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 24 of 28




require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       143.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       144.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       145.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       146.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       147.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       148.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       149.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.

       150.    The allegations in this paragraph state legal conclusions and therefore do not

require a response. To the extent a response is required, the Internet Archive denies the

allegations.




                                                     23
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 25 of 28




                                     PRAYER FOR RELIEF
       In response to the Prayer for Relief, the Internet Archive denies that Plaintiffs are entitled

to the requested relief, or to any relief whatsoever.

                                  AFFIRMATIVE DEFENSES

       In further answer to the allegations made by Plaintiffs in the Complaint, the Internet

Archive asserts the following affirmative defenses. The Internet Archive does not concede that it

has the burden of proof on the defenses listed below.

                                    First Affirmative Defense
                                    (Failure to State a Claim)

       The Complaint fails to state a claim on which relief can be granted.

                                   Second Affirmative Defense
                                           (Fair Use)

       To the extent there was any use of Plaintiffs’ copyrighted materials, such use is protected

by the Fair Use Doctrine, including under 17 U.S.C. § 107.

                                    Third Affirmative Defense
                                       (First Sale Doctrine)

       Plaintiffs’ claims are barred in whole or in part by the First Sale Doctrine, including

under 17 U.S.C. § 109.

                                   Fourth Affirmative Defense
                                         (Safe Harbor)

       To the extent they arise by reason of the storage at the direction of a user of allegedly

infringing material, Plaintiffs’ claims are barred in whole or in part by 17 U.S.C. § 512(c).
                                    Fifth Affirmative Defense
                                     (No Statutory Damages)

       Pursuant to 17 U.S.C. § 504(c)(2), Plaintiffs are not entitled to statutory damages, and

statutory damages must be remitted, because the Internet Archive believed and had reasonable




                                                        24
     Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 26 of 28




grounds for believing that the accused use of the copyrighted work was a fair use, including

under section 107, and the Internet Archive is an institution, library, or archives accused of

having infringed by reproducing works in copies or phonorecords.

                                    Sixth Affirmative Defense
                                     (Statutes of Limitations)

       Plaintiffs’ remedies are barred at least in part by the applicable statutes of limitations

under 17 U.S.C. § 507(b).

                                   Seventh Affirmative Defense
                                            (Laches)

       Plaintiffs’ claims are barred, in whole or in part, by the doctrine of laches.



                                     PRAYER FOR RELIEF

WHEREFORE, the Internet Archive respectfully prays that the Court:

       1.      Deny Plaintiffs’ prayer for relief in it its entirety;

       2.      Dismiss the Complaint with prejudice and enter judgment in favor of IA;

       3.      Award the Internet Archive its attorneys’ fees and costs incurred in this action,
               and any other amounts recoverable under law; and

       4.      Award the Internet Archive such other and further relief as the Court deems just
               and equitable.



The Internet Archive hereby demands a trial by jury in this action.



 Dated: July 28, 2020                           DURIE TANGRI LLP


                                         By:                 /s/ Joseph C. Gratz
                                                JOSEPH C. GRATZ (Pro Hac Vice)
                                                JESSICA E. LANIER (Pro Hac Vice)
                                                ADITYA V. KAMDAR (Pro Hac Vice)




                                                        25
Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 27 of 28




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                                    26
        Case 1:20-cv-04160-JGK-OTW Document 33 Filed 07/28/20 Page 28 of 28




                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 28, 2020 the within document was filed with the Clerk of the

Court using CM/ECF which will send notification of such filing to the attorneys of record in this

case.

                                                                   /s/ Joseph C. Gratz
                                                                  JOSEPH C. GRATZ




                                                      27
